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            EXHIBIT 178
            REDACTED
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           Re: Fw: NYTimes Mag fact-checking
           From:
           To:
           Cc:
           Date:             Tue, 07 Jun 2022 20:16:57 -0400

           Thanks,

           My responses are integrated below...


           On Tue, Jun 7, 2022, 4:18 P                                              wrote:



             New set of fact checks below.

             Including you            since you're mentioned several times.

             Thanks for any guidance!

             Best

             From: Mark de Silva <
             Sent: Tuesda , June 7, 2022 7:10 PM
             To:
             Subject: Re: NYTimes Mag fact-checking

             Hi

             I will look forward to the answers to the questions that are still pending. In the meantime, I have
             some further questions for WPATH. If you could get answers to these, plus the outstanding ones,
             by Wednesday morning, that would be ideal. We have to close the story soon.

             1. Correct that                 was selected by WPATH in       7 to lead a group of 7 clinicians and
             researchers to draft a chapter for SOC8 on adolescents?         I think this is true.

             2. WPATH Standards of Care (SOC) are meant to set the guidelines for transgender health care
             worldwide? --   Yes, not specific to any healthcare delivery system, but focused on transgender
             health as a human/universal concept/need.

             3. True that after WPATH was formed in 1979, transgender activists gained increasing influence in
             the organization? --Wrofessionals who happened to be trans people joined the organization;
             they were not necessarily activists. Some who recognized that a medical association was
             important for institutionalizing transgender health were interested in strengthening the association
             functionally and clarifying the SOC, while others took more aggressive positions as clinicians
             because they saw how interpretations of the SOC were weaponized against their clients/patients in
             specific regions or environments. Different approaches are present throughout the membership.
             The Board tries to balance the values that are expressed through the SOC and good association
             management principles.




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                 et these activists did not contribute to formulating the SOC and its updates over the years? --
            l    No. Transgender-identified professionals have been given a voice, to varying degrees since
             version 5. The first 4 versions were very spare. As more trans professionals joined the association
             and participated in association committees and activities, and their opinions and experience was
             recognized as credible and respectable, these professionals gained more access to being able to
             contribute to the SOC. Note that the association membership application does not ask an
             applicant's gender identity or personal trans ender history. It only asks for professional
             qualifications, which are vetted (right,

             5. Fair to say that a good number of these activists (rightly or wrongly) view SOC criteria as
             imposing excessively restrictive, paternalistic, and even demeaning barriers to transgender
             treatment? -Milo. There are some members who are clinicians who work with marginalized
             groups within the transgender community who would like to see standards relaxed in many ways,
             but in the U.S., it is also true that insurance plans and clinical institutions overlay their own
             interpretations or additional rules on transgender care and some cliniciansand patients/clients
             blame WPATH for this when these systems/processes are outside WPATH's influence or control.
             Activists outside of WPATH blame WPATH, and a lot of misinformation about the SOC is shared
             throughout the trans community.

             We also have questions about a protest in February 2017 [[see video:
             https://www.youtube.com/watch?v=rfqG5TaCzskl]. We have spoken with                        and he
             believes it is generally accurate, but we would also like see if WPATH sees anything inaccurate
             here:

             6. In February 2017, the inaugural conference of U        the US branch of WPATH--was held in Los
             Angeles? -MYes; is branch the appropriate term,

             7. At this conference, protesters interrupted and picketed a panel featuring                    Yes.
             Most of the protesters were not WPATH members.

             8. That evening of the protest, at a meeting with the conference leaders, a group of activists led by
             transgender women of color read aloud a statement in which they said the "entire institution of
             WPATH" was "violently exclusionary" because it "remains grounded in 'cis-normativity and trans
             exclusion.'"? [[QUOTES ARE FROM VIDEO]] --u      --uYes. These were Los Angeles activists who
             had been given free admission to the conference recognize their community-based healthcare
             advocacy, and to help them engage with national trans health leaders and researchers who
             created much of the literature in the field. Some trans-identified clinicians who supported them also
             attended the meeting where the statement was read.

             9. The group asked for cancellation of               appearance on a second upcoming panel?
             Yes.

             10.                  who was on the board at the time, agreed to the demand to cancel
             appearance on the second panel/symposium?_did not appear further at that 2017 USPATH
             conference? -      Yes. This was not my sole decision; I delivered the consensus of the officers
             present with regret and sadness, because we recognized we could not guarantee his safety.

             11.        told the protestors: 'We are very, very sorry." -MYes, true, because (for me) we were
             sorry they felt this way.




             On Tue, Jun 7, 2022 at 3:36 PM                                              wrote:
              Sounds good. Thanks, Mark.




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              From: Mark de Silva <
              Sent: Tuesda June 7 2022 3:29 PM
              To:
              Cc:
              Subject: Re: NYTimes Mag fact-checking

              OK great, thank you for your help with all of this. I will review and be in touch.
              On Tue, Jun 7, 2022 at 3:03 PM                                                 wrote:
               Mark,

                Attached you'll see the updated responses to fact checks for Emily Bazelon's article about
                what constitutes good care and treatment for transgender and gender-diverse youth.

                There are still a few items to be completed. You'll see comments about that in the
                document.

                Thanks so much.




                From:
                Sent: Tuesday, June 7, 2022 1:34 PM
                To: Lu Fong
                Cc:                                ; Mark de Silva <                                    Mark
                Van de Walle
                Subject: Re: NYTimes Mag fact-checking

                No worries, Lu!


                From: Lu Fong <                      >
                Sent: Tuesday, June 7, 2022 12:47 PM
                To:
                Cc                                 ; Mark de Silva <                                  >; Mark
                Van de Walle <                              >
                Subject: Re: NYTimes Mag fact-checking

                Many apologies to all— our directory auto populated the wrong "Mark". I'm adding Mark de
                Silva"* here who will be handling things.


                On Tue, Jun 7, 2022, 12:00 PM Lu Fong <                    > wrote:
                 Ah! We seem to have simul-emailed. Adding Mark here so he has what you sent.




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                 He's still getting situated so I'm happy to clarify over the phone—I'm on my cell today:
                                  .

                 Thanks,
                 Lu
                 On Tue, Jun 7, 2022, 11:55 AM                                                 wrote:
                   Hi Lu.


                  WEI      nd I have worked on your questions and I'm attaching responses to most of


                   However, we are still checking with other WPATH experts on the items you'll see in
                   orange.

                   As soon as we have clarity on those, I'll get back with you.

                   I did have a question for you about # 26, so I'll give you a call about that.




                   From: Lu Fong <                    >
                   Sent: Monday, June 6, 2022 7:02 PM
                   To:
                   Cc:
                   Subject: Re: NYTimes Mag fact-checking

                   Thanks very much= We can make changes as late as 10 am ET Wednesday
                   morning but given that there may be some follow-up needed, would be best to hear
                   back earlier.

                   Really appreciate your help!

                   Best
                   Lu
                   On Mon, Jun 6, 2022 at 6:19 PM                                                  wrote:
                     Hi Lu.

                     A quick circle back to find out your exact deadline tomorrow.

                            and I will be in touch.




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                    Thank you.


                    From:
                    Sent: Monday, June 6, 2022 11:48 AM
                    To: Lu Fong <                    >
                    Cc
                    Subject: Re: NYTimes Mag fact-checking

                    Hello Lu.

                    Thanks for sending the updated questions!

                    Also,                 will be in touch today. I texted with her earlier today to
                    remind her and she will definitely be reaching back out to you.

                    E est m


                    From: Lu Fong <                    >
                    Sent: Monday, June 6, 2022 11:29 AM
                    To:
                    Cc:
                    Subject: Re: NYTimes Mag fact-checking

                    Hi                           Apologies for leaving you off my previous emails),

                    Emily did a little editing over the weekend and I have a few additional questions to
                    add to the list. I've reattached it here, with additional questions in bold and I've
                    also pasted the new qs below.

                    I'm also hoping you can help me get in touch with                     I haven't
                    heard from her since her initial response to Emily and I'm hoping to get her on the
                    phone today or tomorrow. I can also send my questions in writing, if that's easier
                    — please just let me know what might work best.

                    Appreciate your bearing with our editorial process! Here for any questions or for
                    clarification.

                    Best,
                    Lu

                    ADDITIONAL NYTimes Magazine fact-checking queries
                       1.

                                 What exact date in December 2021 was the draft version of SOC8
                                 released?

                            2.

                                 The WPATH SOC8 will be divided into 20 chapters?

                            3.




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                             Fair to say that the majority of the SOC8 addresses treatment for
                             transgender
                             adults?

                        4.

                             All authors of the SOC8 sign a confidentiality agreement?

                        5.

                             You gave Emily Bazelon
                             exclusive
                             access to the final SOC8 draft?

                        6.

                             The final version of the SOC8 will be released later this month?
                             (June 2022)

                        7.

                             The SOC7 released in 2012:

                                 a.

                                      ... cited         work around a dozen times?

                                 b.

                                      ... described social transition in early childhood as
                                      "controversial"

                        8.

                             Fair to say that after          clinic shut down at the end of
                             2015, WPATH's approach to care for children and teenagers
                             "transformed"?

                        9.

                             If so, would it be fair to assert that as part of this shift,
                             WPATH began viewing reparative therapy as akin to conversion
                             therapy?



                    On Fri, Jun 3, 2022 at 4:46 PM                                            wrote:
                     Thank you, Lu!




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                      We'll get back with you before the deadline.

                      Glad you're speaking with

                      Best




                      From: Lu Fong                      >
                      Sent: Frida , June 3, 2022 4:35 PM
                      To:
                      Subject: Re: NYTimes Mag fact-checking



                      I hope your week is wrapping up well! Please forgive my delay on this — the
                      piece has been undergoing edits and I wanted to have a more stable version
                      before sending you my queries.

                      I've attached a Word doc with my questions about WPATH here; I've also
                      pasted them below. Please don't hesitate to reach out with any questions or
                      for any clarification!

                      Deadline is this Tuesday evening but if necessary, we can make chap es
                      through Wednesday morning. I'll also be checking in on
                      momentarily.

                      Many thanks again for your time and help!

                      All Best
                      Lu



                      NYTimes Magazine fact-checking queries - WPATH




                                  WPATH stands for World Professional Association for Transgender
                                  Health?

                             2.

                                  WPATH is an international organization?

                             3.




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                               WPATH was originally named after Harry Benjamin?

                          4.

                               WPATH currently has 3000 members? (If not, can you share how
                               many members there are?)

                          5.

                               Most
                               WPATH members are healthcare professionals?

                          6.

                               WPATH also includes a small number of social scientists and
                               lawyers?

                          7.

                               WPATH was established / founded in 1979?

                          8.

                               WPATH also issued its first Standards of Care in 1979?

                          9.

                               Fair to say that the first Standards of Care was written by a "small
                               committee"? (That is, how many people were on the first writing
                               committee?)

                         10.

                               After its creation, the doctors who
                               chose
                               the first committee of authors voted against including a transgender
                               man who asked to join it?




                         11.

                               WPATH Standards of Care has been updated periodically since its
                               founding?

                         12.




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                               Fair to say that the WPATH Standards of Care influence the positions
                               taken by major medical groups including the American Academy of
                               Pediatrics
                                and the American Psychological Association?

                         13.

                               Fair to say that the WPATH Standards of Care also influence the
                               coverage offered by health insurers and national health services
                               around
                               the world?

                         14.

                               The upcoming Standards of Care will be the EIGHTH edition?

                         15.

                               The last update happened in 2012?

                         16.

                                                                       were among the authors of the
                               2012 SOC version?

                         17.

                               Prior to the SOC8 proposal, all previous SOC versions required trans
                               adults to live for a year as their preferred gender and provide two
                                referrals from mental health professionals in order to undergo genital
                               surgery?

                         18.

                               The SOC8 has instead adopted a model of collaborative decision-
                               making between adult patient and surgeon?

                         19.

                               There are
                               seven
                                clinicians drafting the SOC8 chapter on adolescents
                                for the upcoming WPATH guidelines?

                         20.

                               All of the following people have been president of WPATH:

                                    a.




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                                    b.




                         21.

                                             is the president-elect of WPATH and will become
                               president in September of this year?

                         22.

                               WPATH issued a
                               statement in October 2021 opposing "the use of the lay press" for
                               scientific debate?

                         23.

                               Fair to imply that this statement was in response to the debate
                               surrounding
                               this
                                post by Abigail Shrier, in which
                               were interviewed?


                      On Tue, May 31, 2022 at 1:43 PM
                      wrote:
                        Thank you, Lu!
                        From: Lu Fong <
                        Sent: Tuesda Ma 31 2022 1:39 PM
                        To:
                        Cc:
                        Subject: Re: NYTimes Mag fact-checking

                       Thanks                            m happy to send my questions in writing,
                       likely some time tomorrow.

                       Appreciate both your time and help. Will be in touch with queries soon.

                       Best
                       Lu
                       On Tue Ma 31 2022 at 1:30 PM
                                             wrote:
                         Hello Lu!

                         Thanks for reaching out!

                         I'm ccing WPATH's                                     ho I'll be working
                         with to ensure we can answer all of the fact check questions.




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                         If would be very helpful if you send the questions in writing with the
                         potential for a follow up call to tie up any loose ends. Would that be ok
                         with you?




                         From: Lu Fong <                    >
                         Sent: Tuesday, May 31, 2022 12:53 PM
                         To:
                         Subject: NYTimes Mag fact-checking

                         Hi

                         Thanks again for agreeing to help fact-check Emily's upcoming piece for
                         the NYT Magazine. The story is still being edited into final shape but I
                         will have a list of questions for you regarding WPATH ready in the next
                         day or so ...

                         Do you have some time in the next few days for a phone call? I'd
                         imagine it'd take around 30-40 minutes and I'm happy to work with your
                         schedule. Just let me know what might work best.

                         (I can also send my questions in writing, if you prefer, with the
                         understanding that the list will be fairly long.)

                         Deadline is coming up next week — I'm reachable by email or phone
                         at +             .

                         Many thanks and appreciate your time and help!

                         Best
                         Lu


                         Lu Fong
                         The New York Times Magazine
                         (




                       Lu Fong
                       The New York Times Magazine




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                      Lu Fong
                      The New York Times Magazine




                    Lu Fong
                    The New York Times Magazine
                    (




                   Lu Fong
                   The New York Times Magazine




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         NYTM Fact-checking Queries: World Professional Association for
                                  Transgender Health
               June 3, 2022 I Deadline: Tuesday 6/7/22 I Responses to




         1. WPATH stands for World Professional Association for Transgender
           Health? Correct
         2. WPATH is an international organization? Yes
         3. WPATH was originally named after Harry Benjamin? Correct
         4. WPATH currently has 3000 members? (If not, can you share how
            many members there are?) Currently we have 3309
         5. Most WPATH members are healthcare professionals? Correct
         6. WPATH also includes a small number of social scientists and
            lawyers? Yes
         7. WPATH was established / founded in 1979? Yes
         8. WPATH also issued its first Standards of Care in 1979? Yes,
           February 12. 1979
         9. Fair to say that the first Standards of Care was written by a "small
            committee"? (That is, how many people were on the first writing
            committee?) Correct, 6 people
         10.      After its creation, the doctors who chose the first committee of
            authors voted against including a transgender man who asked to join
            it? Yes
         11.      WPATH Standards of Care has been updated periodically since
            its founding? Yes, 7 times; 1979, 1980, 1981, 1990, 1998, 2005,
           2012




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         12         Fair to say that the WPATH Standards of Care influence the
              positions taken by major medical groups including the American
              Academy of Pediatrics and the American Psychological Association?
              I cannot list groups, but yes, our SOC are accepted and supported by
              leading professional medical associations.
         13.        Fair to say that the WPATH Standards of Care also influence
              the coverage offered by health insurers and national health services
              around the world? Yes
         14.        The upcoming Standards of Care will be the EIGHTH edition?
              Yes
         15.        The last update happened in 2012. Yes
         16.        Ken Zucker and Peggy Cohen-Kettenis were among the
              authors of the 2012 SOC version? Yes
         1          Prior to the SOC8 proposal, all previous SOC versions required
              trans adults to live for a year as their preferred gender and provide
              two referrals from mental health professionals in order to undergo
              genital surgery?


                    The SOC8 has instead adopted a model of collaborative
              decision-making between adult patient and surgeon? ,:For 17 and 1t
              The `real-life test was remove° in I ya0. Many people did continue t
              require it prior to surgery. Note: the reference for this is in SOC 2
              should be noted that version 7 emphasized "care must be
              individualized" and that deviations from specific requirements were
              clinically acceptable and should be documented. Thus, a rigid 12
              months may not be required for all patients. Individual circumstance
              and needs can override the guidelines if the clinicians deem it




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              appropriate for or in the interest of the patient. Versions 5 and 6 wer
              still a bit rigid about performing socially as "the opposite sex, but
              version 7 is less demanding, though still concerned that patients har
              enough time to fully experience their gender role before undergoing
              irreversible surgeries. Note that this is not the case for procedures
              involving sterilization, bui the concern is for good social and sexual
              functioning. In other words the evolution is a bit more subtle and
              continuous than the sentence in the article implies.



         19           There are seven clinicians drafting the SOC8 chapter on
              adolescents for the upcoming WPATH guidelines? 7 members of the
              chapter workgroup, including 2 co-chairs, and a community
              stakeholder.
         20.          All of the following people have been president of WPATH:
                 a.                  YES
                 b. Erica Anderson NO, she was president of USPATH
         21.                        is the president-elect of WPATH and will become
              president in September of this year? Yes
         22.          WPATH issued a statement in October 2021 opposing "the use
              of the lay press" for scientific debate? it was a WPATH / USPATH
              joint letter — here is an excerpt re scientific discussions 'USPATH ar
              WPATH support scientific discussions on the use of pubertal delay
              and hormone therapy for transgender and gender diverse youth. We
              believe that such discussions should occur among experts and
              stakeholders in this area, based on scientific evidence, and in fora
              such as peer-reviewed journals or scientific conferences, and among




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           colleagues and experts in the assessment and care of transgender
           and gender diverse youth. USPATH and WPATH oppose the use of
           the lay press, either impartial or of any political slant or viewpoint, as
           a forum for the scientific debate of these issues, or the politicization of
           these issues in any way.


         23.     Fair to imply that this statement was in response to the debate
           surrounding this post by Abigail Shrier, in which Erica Anderson and
                          were interviewed? Yes


         24.     What exact date in December 2021 was the draft version of
           SOC8 released? December 2, 2021
         25.     The WPATH SOC8 will be divided into 20 chapters? There are.
           18 chapters in the SOC8
                 Fair to say that the majority of the 18 SOC8 chapters address
           treatment for transgender adults? Yes.

         27.     All authors of the SOC8 sign a confidentiality agreement? °
         28.     You gave Emily Bazelon exclusive access to the final SOC8
           draft? Yes
         29.     The final version of the SOC8 will be released later this month?
           (June 2022) The final draft document will be sent to the editors in
           approximately the next week, then to the International Journal of
           Transgender Health (IJTH) publishers for next steps to final
           publication in IJTH as an open access document. Final publication
           expected this summer.
         30.     The SOC7 released in 2012:




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               a. . .. cited Zucker's work around a dozen times? Sounds correct
               b. . .. described social transition in early childhood as
                  "controversial" No, it states "This is a controversial issue, and
                  divergent views are held by health professionals."




                                                                                      Commented 111:
                                                                                      This section is being edited Dinh Bazekin.
                                                                                      Please send back any remaining Ma checks after
                                                                                      her edits are complete.


       Additional Questions from NY Times, sent June 8th




       1. Correct that                was selected by WPATH in 2017 to lead a
       group of 7 clinicians and researchers to draft a chapter for SOC8 on
       adolescents? —




       2. WPATH Standards of Care (SOC) are meant to set the guidelines for
       transgender health care worldwide? -M




       3. True that after WPATH was formed in 1979, transgender activists gained
       increasing influence in the organization?




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       4. Yet these activists did not contribute to formulating the SOC and its
       updates over the years?




       5. Fair to say that a good number of these activists (rightly or wrongly) view
       SOC criteria as imposing excessively restrictive, paternalistic, and even
       demeaning barriers to transgender treatment?




       We also have questions about a protest in February 2017 [[see
       video: https://www.youtube.conn/watch?v=rfqG5TaCzskl]. We have spoken
       with                 and he believes it is generally accurate, but we would
       also like see if WPATH sees anything inaccurate here:




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       6. In February 2017, the inaugural conference of USPATH--the US branch
       of WPATH--was held in Los Angeles?


       7. At this conference, protesters interrupted and picketed a panel featuring
       Ken Zucker?

       8. That evening of the protest, at a meeting with the conference leaders, a
       group of activists led by transgender women of color read aloud a
       statement in which they said the "entire institution of WPATH" was
       "violently exclusionary" because it "remains grounded in `cis-normativity
       and trans exclusion.'"? [[QUOTES ARE FROM VIDEO]]




        9. The group asked for cancellation of Zucker's appearance on a second
       upcoming panel?

       10.               , who was on the board at the time, agreed to the
       demand to cancel Zucker's appearance on the second panel/symposium?
       Zucker did not appear further at that 2017 USPATH conference?




       11         told the protestors: We are very, very sorry." ■




       Final question from the NY Times Magazine




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       Is it correct to say that largely in response to
       concerns, the December draft of the SOC8 adolescent chapter
       suggested that health care providers discuss "future unknowns related
       to sexual health" when families consider puberty blockers?

               believes her comments had this influence, but I wanted to
       confirm with you.                                                       Commented 121:
                                                                               We arc checking wi h   on this




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           RE: script from banquet
           From:
           To:
           Cc:
           Date:         Tue, 07 Feb 2017 00:05:10 -0500
           Attachments: • reply tom
                                  tol            et al _Collective Response to first draft apology.docx (162.55
                         kB); Script from banquet.docx (150.61 kB)

           Hi

           What is the next step?

           Thanks,




           From:
           Sent: Februa 6 2017 8:49 PM
           To
           Subject: script from banquet




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          We feel that this apology is insufficient and does not sincerely and sufficiently address our demands. Please see
          the recommendations below.

              1.   This letter fails to include an apology for the invitation of Kenneth Zucker to present his research on
                   conversion therapy for transgender youth, which was clearly stated by us in our meeting with the Board
                   last night as a high priority demand of ours, your intentional (at this point) exclusion of this is cause for
                   additional concern. We have been advised by our attorney not to post anything on the WPATH website
                   that names Ken Zucker. We called him last night and told him we were cancelling the session where he
                   was to appear with 3 other presenters, who were also informed that they would also not be allowed to
                   present (as trans-positive practitioners and researchers, the other 3 presenters had planned to rebut
                 Zucker's theories, and they were disappointed because they had spent a great deal of time in
                 preparation). We have posted the cancellation on the door, and we have communicated verbally with
                 everyone who asks about the cancellation. I also want to make clear that Ken Zucker was not "invited" to
                 present: Both of the sessions he was participating in were submitted as "mini-symposia" with multiple
                 presenters associated with the abstract. The Abstracts were reviewed by both cis and trans peers in the
                 discipline of the presenters, and both received very high scores. As a result, the mini-symposia were
                 accepted for presentation. The only invited speakers were CA Insurance Commissioner Jones and HHS
                 LGBT representative Elliot Kenney.
                                            Kennedy, and no speakers were paid to be here.
              2. This statement fails to include the multiple people and range of identities that were affected by the
                 violence that Zucker and WPATH allowed and perpetuated. Did you want the affected people's names to
                 be mentioned? It would be helpful to me if you could provide the range of identities that should be listed.
              3.   Acknowledgement of the policing of trans community and the willful perpetuation of the policing of trans
                   communities, belonging to a long legacy of racist and transphobic violence against our communities. I do
                   understand this, and I empathize. I can include this for sure.
              4.   Calling security on transgender conference participants is not being seen by us as an "anonymous"
                   incident, this further minimizes not only the experiences we actually faced, but also the responsibility of
                   the board and the management agency to perform due diligence in screening, training, and informing
                   staff and security on best practices and expectations throughout the duration of the conference. We
                   contacted the hotel and the campus security department to see if they had any knowledge about who
                   made the request for them to come to the Luskin Center. Both said they had no record of who called. The
                   hotel's security policy states that they do not disclose any information about security incidents, and
                   because nothing happened requiring security action there is no written report on file at the campus
                   security office. As such, I can only say it was an anonymous request that brought security to the hotel.
              5.   "The security staff apologized to the trans people and to WPATH staff." -.... We are professionals,
                   attending the conference, transgender or not. Again highlighting our value as professionals and not
                                                                                     individuals.. I understand
                   minimizing our experiences to our identities as transgender individuals.          underst..dric that  yOu ire
                                                                                                                   tI:at you are
                   professionals; I was only trying to emphasize that the security people were apologetic to the people who
                   they had surrounded, and that it was WPATH staff who sent them away. I can certainly rephrase to
                   emphasize your collective professionalism.
              6.   Instead of simply putting the words "we apologize" can you give specific examples as to what exactly you
                   are apologizing for, how you understand the implications of your actions, and your specific resolutions to
                   addressing our demands and concerns to ensure that this never happens again, containing the inclusion
                   of transgender women of color in the fabric of WPATHs planning processes. Yes. Our staff has embraced




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                   the opportunity to partake in sensitivity training, and we look forward to speaking with you on Sunday
                   afternoon to discuss next steps.
              7.   Being intentional about creating a safe space for transgender professionals and community for the
                   planning of all future conferences and events. Yes! No worries!! That's our intention for sure!!

          Please revisit our list of demands and adjusts your apology so that it is reflective of all of them. The actions of
          USPATH/WPATH and insincere apology does not align with WPATH's vision, which is to promote the health,
          respect, and equality for transgender, transsexual and gender-variant people in all cultural settings. We are very
          sincere in our apology. As a formal statement, usually there isn't a lot of detail. We assure you we have learned
          from this situation, and we are truly excited to partner with you and your colleagues to make sure this never
          happens again, and that USPATH in particular will be more adept in meeting the needs of ALL our US members.




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          Yesterday a situation involving a scheduled WPATH
          presenter at the conference which lead to a campus
          security incident which was not handled well, and I and
          the other conference organizers and our staff apologize
          for the pain and disrespect this caused our participants,
          especially those who identify as trans women of color.

          Our scientific chair, Dr. Dan Karasic, has posted an
          apology on the SOC7 Facebook page, and, there is an
          explanation posted on the WPATH website. Last night we
          had a meeting with leaders of the trans people of color
          and we promise to do all we can to ensure that similar
          events do not occur.

          In the future we will work with local communities when
          we hold conferences in various locations. The board will
          include trans people of color, especially trans women of
          color, in the ongoing work of WPATH. And we are
          committed to working with trans people of color to guide
          us in our growth.

          Moving forward, USPATH embraces the opportunity to
          have our colleagues who are trans and people of color
          involved in every aspect of the organization — as elected
          leadership, in committee and task force leadership, and



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          in advisory positions that will make USPATH more
          relevant to the field of trans health in the United States.




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